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16 TELECOMMUNICATIONS AMERICA, LLC
17
                                 UNITED STATES DISTRICT COURT
18
                  NORTHERN DISTRICT OF CALIFORNIA, SAN JOSE DIVISION
19
     APPLE INC., a California corporation,      CASE NO. 12-CV-00630-LHK (PSG)
20
                   Plaintiff,                   SAMSUNG’S NOTICE OF MOTION AND
21                                              MOTION TO ENFORCE APPLE’S
            vs.                                 COMPLIANCE WITH THE COURT’S
22                                              ORDER REGARDING CASE
   SAMSUNG ELECTRONICS CO., LTD., a             NARROWING
23 Korean business entity; SAMSUNG
   ELECTRONICS AMERICA, INC., a New             Date: TBD
24 York corporation; SAMSUNG                    Time: TBD
   TELECOMMUNICATIONS AMERICA,                  Place: Courtroom 8
25 LLC, a Delaware limited liability company,   Judge: Honorable Lucy H. Koh

26                 Defendants.

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 1                               NOTICE OF MOTION AND MOTION
 2 TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 3          PLEASE TAKE NOTICE that on a date and time to be determined by the Court, before the
 4 Honorable Lucy H. Koh in Courtroom 8, United States District Court for the Northern District of
 5 California, Robert F. Peckham Federal Building, 280 South First Street, San Jose, California,
 6 Samsung Electronics Co., Ltd., Samsung Electronics America, Inc., and Samsung
 7 Telecommunications America, LLC (collectively “Samsung”) shall and hereby do move the Court
 8 for an order against Apple Inc. (“Apple”) enforcing the Court’s case narrowing order requiring the
 9 parties to “limit their asserted claims to 10 per side” by October 4, 2013. (Dkt. 471; Dkt. 713;
10 Dkt. 778.)
11          Samsung moves based on this notice of motion and supporting memorandum of points and
12 authorities, the concurrently filed Declaration of Michael L. Fazio (“Fazio Decl.”), briefing in
13 reply to Apple’s opposition to this Motion, and such other written or oral argument as Samsung
14 may present to the Court.
15                            STATEMENT OF ISSUES TO BE DECIDED
16          Whether Apple has complied with the Court’s case narrowing order by filing a case
17 narrowing statement on October 4, 2013, that lists 10 claims of the patents-in-suit “to which Apple
18 will limit its infringement assertions going forward in this action” (Dkt. 786), but nonetheless
19 continuing to assert three additional claims of the patents-in-suit, for purposes including its alleged
20 practice of the patents and its claimed damages for Samsung’s alleged infringement:
21          •       Claim 34 of U.S. Patent No. 6,847,959 (the “’959 Patent”);
22          •       Claim 27 of U.S. Patent No. 8,074,172 (the “’172 Patent”); and
23          •       Claim 11 of U.S. Patent No. 7,761,414 (the “’414 Patent”).
24                                        RELIEF REQUESTED
25          This Court should enforce its case narrowing order requiring Apple and Samsung to “limit
26 their asserted claims to 10” by striking Apple’s contentions that it practices Claim 34 of the ’959
27
28
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 1 Patent, Claim 27 of the ’172 Patent, or Claim 11 of the ’414 Patent, as well as any portion of its

 2 expert reports that rely on those contentions.
 3
 4 DATED: October 10, 2013                    QUINN EMANUEL URQUHART &
                                              SULLIVAN, LLP
 5
 6
                                                 By /s/ Victoria F. Maroulis
 7                                                 Charles K. Verhoeven
                                                   Kevin P.B. Johnson
 8                                                 Victoria F. Maroulis
                                                   William C. Price
 9
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11                                                  SAMSUNG ELECTRONICS AMERICA, INC.,
                                                    and SAMSUNG TELECOMMUNICATIONS
12                                                  AMERICA, LLC
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 1                       MEMORANDUM OF POINTS AND AUTHORITIES
 2          The Court must resolve a simple but significant dispute regarding its case narrowing order:
 3 whether its requirement that Apple and Samsung “limit their asserted claims to 10 per side” means
 4 that each party can assert only ten total claims – as Samsung contends – or instead means, as
 5 Apple argues, that each party can assert ten claims regarding infringement, plus an unlimited
 6 number of additional claims regarding other issues. Apple’s interpretation not only contradicts
 7 the text of the Court’s order, but also undermines its purpose: to ensure an orderly presentation of
 8 a reasonable number of issues to the jury. The Court should enforce its order by barring Apple
 9 from pursuing additional asserted claims beyond those in its case narrowing statement, and by
10 striking any contention that Apple practices Claim 34 of the ’959 Patent, Claim 27 of the ’172
11 Patent, or Claim 11 of the ’414 Patent, as well as any portion of Apple’s expert reports that rely on
12 those contentions.
13                                            BACKGROUND
14          A.      The Court Required The Parties To Reduce Their Asserted Claims
15          To streamline the issues in this litigation and to allow an orderly presentation to a jury, this
16 Court ordered Apple and Samsung to limit the patent claims they assert, the products they accuse
17 of infringement, and the theories of invalidity they advance. In its Case Management Order of
18 March 8, 2013, the Court stated that it would “require the parties to streamline the issues raised in
19 this action significantly,” in part by reducing the number of asserted claims per side before trial.
20 (Dkt. 394.) At case management hearings, the Court repeatedly emphasized the importance of
21 narrowing the assertions in this action to a “focused and streamlined case” including strict limits
22 on “patent claims,” “accused products,” and “prior art.” (Fazio Decl. Ex. 1 at 8:23-9:3, 9:10-11.)
23 As the Court explained in response to a question from Apple, this narrowing would reduce the
24 asserted claims to “what the jury can handle.” (Fazio Decl. Ex. 2 at 48:23-25.) On April 24,
25 2013, the Court ordered a phased reduction of asserted patent claims, accused products, and
26 asserted prior art. (Dkt. 471.) Following short extensions requested by the parties and granted by
27 the Court, by the most recent deadline of October 4, 2013, the Court’s narrowing order required
28
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 1 Apple and Samsung each to “limit their asserted claims to 10 per side and limit their accused

 2 products to 15 per side.” (Dkt. 471; Dkt. 713; Dkt. 778.) The parties face one final phase of the
 3 narrowing process: “By February 6, 2014, the parties will be required to limit their asserted
 4 claims to 5 per side and limit their accused products to 10 per side. In addition, the parties will be
 5 required to reduce their invalidity references/systems/combinations to 15 per side.” (Dkt. 713.)
 6          B.      Apple Failed to Comply With the Court’s Order
 7          Under the Court’s case narrowing order, by October 4, 2013, Apple and Samsung were
 8 each required to “limit their asserted claims to 10 per side and limit their accused products to 15
 9 per side.” (Dkt. 471; Dkt. 713; Dkt. 778.) In response, however, Apple filed a submission
10 purporting to comply with the Court’s order, but which unilaterally interpreted the Court’s
11 command to “limit their asserted claims to 10 per side” as applying only to claims of infringement.
12 Thus Apple has limited its infringement claims to ten, but continues to assert three additional
13 claims of the patents-in-suit for purposes including its alleged practice of the patents and its
14 claimed damages for Samsung’s alleged infringement:
15          •       Claim 34 of U.S. Patent No. 6,847,959 (the “’959 Patent”);
16          •       Claim 27 of U.S. Patent No. 8,074,172 (the “’172 Patent”); and
17          •       Claim 11 of U.S. Patent No. 7,761,414 (the “’414 Patent”).
18 Under Apple’s interpretation of the Court’s case narrowing order, it can currently maintain
19 thirteen asserted claims instead of ten, and can arrive at trial with eight claims instead of five. To
20 oppose Apple’s claims of practicing these patents, Samsung must offer an element-by-element
21 examination of Apple’s products, the prior art, and the claims themselves – the precise equivalent
22 of an infringement analysis. Thus Apple’s interpretation not only would violate the Court’s clear
23 limits on “patent claims” or “asserted claims” – not “infringement assertions” – but also would
24 undermine the Court’s intent of achieving a “focused and streamlined case” including only “what
25 the jury can handle.” (Fazio Decl. Ex. 1 at 8:23-9:3, 9:10-11; Fazio Decl. Ex. 2 at 48:23-25.)
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                                            -2-             Case No. 12-CV-00630-LHK (PSG)
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 1          C.      Apple Refused Samsung’s Request To Honor the Court’s Order
 2          After reviewing Apple’s case narrowing statement filed on October 4, 2013, on October 8
 3 Samsung wrote to Apple to seek its compliance with the Court’s case narrowing order. (Fazio
 4 Decl. Ex. 10.) Samsung asked Apple to confirm that it would pursue only the patent claims set
 5 forth in the case narrowing statement, and would not also pursue the three additional claims
 6 referenced in some of its expert reports. (Id.) Apple did not respond to this letter. During a meet-
 7 and-confer discussion on October 10, 2013, Apple confirmed its view that the Court’s requirement
 8 that Apple and Samsung “limit their asserted claims to 10 per side” applied only to claims asserted
 9 for infringement, and not to claims asserted for any other purpose, including claimed practice of a
10 patent or alleged damages.
11          D.      Apple’s Failure To Comply With The Court’s Order Will Prejudice Samsung
12          Unless remedied by the Court, Apple’s failure to comply with the Court’s narrowing order
13 will significantly prejudice Samsung. To rebut Apple’s claims that its products practice the three
14 extra claims, Samsung must argue (among other things) that Apple’s products do not actually
15 practice the three extra claims, or that the three extra claims are invalid, or both. Under black
16 letter law, “[a] validity analysis must be conducted on a claim-by-claim basis,” so Samsung must
17 make separate arguments about the invalidity of each extra claim. Nat’l Steel Car, Ltd. v.
18 Canadian Pacific Ry., Ltd., 357 F.3d 1319, 1334 (Fed. Cir. 2004). Similarly, Samsung’s
19 arguments against Apple’s claims to practice the three extra claims must analyze those claims
20 separately from Samsung’s rebuttal to Apple’s allegations it infringes other claims. See
21 Amazon.com, Inc. v. Barnesandnoble.com, Inc., 239 F.3d 1343, 1351 (Fed. Cir. 2001). Finally,
22 Apple’s assertion of three extra claims will harm Samsung another way – by unfairly constraining
23 Samsung’s invalidity case. The Court’s case narrowing order has already required Samsung to
24 “reduce their invalidity references/systems/combinations to 25,” and will by trial require Samsung
25 to “reduce their invalidity references/systems/combinations to 15.” (Dkt. 471; Dkt. 713; Dkt.
26 778.) Under Apple’s view of the order, however, Samsung must use those 15 references to
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                                            -3-             Case No. 12-CV-00630-LHK (PSG)
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 1 invalidate Apple’s up-to-eight claims asserted at trial, while Apple will have the same number of

 2 references, 15, to use against Samsung’s five claims asserted at trial.
 3                  1.     Claim 34 of the ’959 Patent
 4          Although Apple’s case narrowing statement of October 4, 2013, lists only Claims 24 and
 5 25 of the ’959 Patent (Dkt. 786), Apple also contends that it practices Claim 34 of the ’959 Patent,
 6 which Apple has never even accused Samsung of infringing. Apple’s technical expert, Dr. Alex
 7 Snoeren, opined that Apple practices Claim 34 of the ’959. (Fazio Decl. Ex. 3 ¶¶ 360-67.)
 8 Another Apple expert, Professor John Hauser, conducted a survey of the allegedly patented
 9 features of the ’959 Patent that ignored the differences between Claims 24 and 25, which Apple
10 asserts against Samsung for infringement, and Claim 34, which Apple asserts for practice and
11 damages. (See, e.g., Fazio Decl. Ex. 4 ¶¶ 42, 43, 74.) In turn, another Apple expert, Dr.
12 Christopher Vellturo, relied on Professor Hauser’s consumer demand studies to analyze damages
13 allegedly owed to Apple for the ’959 Patent. (See, e.g., Fazio Decl. Ex. 5 ¶¶ 13, 164, 255-58, 280-
14 88, 293, 310-17, 324, 395-96, 481, 489, 500.) To rebut these allegations Samsung must argue that
15 Apple’s products do not practice Claim 34 of the ’959 Patent and that Claim 34 is invalid,
16 subjecting the jury to additional infringement and invalidity analysis of this claim.
17                  2.     Claim 27 of the ’172 Patent
18          Similarly, although Apple’s case narrowing statement lists only Claim 18 of the ’172
19 Patent (Dkt. 786), Apple again also contends that it practices Claim 27 of the ’172 Patent. (Fazio
20 Decl. Ex. 6 at 42-53.) Again, Apple’s technical expert, Professor Andrew Cockburn, opined that
21 Apple’s products practice Claim 27 of the ’172 patent. (Fazio Decl. Ex. 7, ¶¶ 470-73; Dkt. 645.)
22 Again, Professor Hauser’s study ignored the differences between Claim 18 and Claim 27, and Dr.
23 Vellturo relied on Professor Hauser’s survey to calculate damages allegedly owed to Apple.
24 (Fazio Decl. Ex. 4, ¶¶ 42-43, 74; Fazio Decl. Ex. 5, ¶¶ 13, 164, 255-58, 280-84, 395-96, 481, 489,
25 500.) Again, to rebut these allegations Samsung must argue that Claim 27 is invalid, requiring the
26 jury to consider validity of two claims, Claim 18 and Claim 27, instead of the one intended by the
27 Court’s order.
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 1                  3.      Claim 11 of the ’414 Patent
 2           Finally, in its case narrowing statement of October 4, 2013, Apple dropped its
 3 “infringement assertions” regarding Claim 11 of the ’414 Patent. (Compare Dkt. 645 with Dkt.
 4 786.) But Apple still contends that its products practice Claim 11, and seeks damages on that
 5 basis. (See, e.g., Fazio Decl. Ex. 8 at 16-18.) Apple’s technical expert, Dr. Snoeren, also opined
 6 that Apple’s products practice Claim 11. (Fazio Decl. Ex. 3 ¶¶ 525-28; Fazio Decl. Ex. 9 ¶ 627.)
 7 Professor Hauser purported to test consumer demand for Claim 11 of the ’414 Patent, while still
 8 another Apple expert, Dr. Vellturo, relied on Professor Hauser’s tests to calculate damages
 9 allegedly owed to Apple. (Fazio Decl. Ex. 4 ¶¶ 42-43, 74; Fazio Decl. Ex. 9 ¶ 620; Fazio Decl.
10 Ex. 5 ¶¶ 13, 164, 255-58, 280-88, 293, 310-17, 324, 395-96, 481, 489, 500.) As with Claim 34 of
11 the ’959 Patent and Claim 27 of the ’172 Patent, Samsung will be forced to rebut these allegations
12 regarding Claim 11 ’414 Patent by seeking to show that Apple’s products do not practice Claim 11
13 and that Claim 11 is invalid. Thus Apple’s interpretation of the Court’s order would require the
14 jury to consider both Claim 11 and Claim 20, although only Claim 20 appears on Apple’s case
15 narrowing statement.
16                                              ARGUMENT
17 I.        This Court Has Inherent Authority To Enforce Its Own Orders
18           This Court has inherent authority to enforce its own orders. See, e.g., TiVo, Inc. v.
19 EchoStar Corp., 646 F.3d 869, 887 (Fed. Cir. 2011) (en banc); Sarytchev v. Korolev, 2013 WL
20 1501440, *5 (N.D. Cal. Apr. 11, 2013). Because Apple has violated the Court’s case narrowing
21 order, the Court can and should exercise its inherent authority to redress Apple’s violation and
22 restore the balance it originally intended. Id.
23 II.       The Court Should Enforce Its Case Narrowing Order Against Apple’s Overreach
24           If allowed to stand, Apple’s interpretation would undermine both the letter and the spirit of
25 the Court’s case narrowing order. Under Apple’s view, it can currently maintain thirteen asserted
26 claims instead of ten, and can bring eight claims to trial instead of five. Apple’s proposal would
27 needlessly confuse the jury, and would require Samsung to expend precious trial time performing
28
                                              -5-             Case No. 12-CV-00630-LHK (PSG)
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 1 an element-by-element examination of Apple’s products and the claims themselves – even though

 2 Apple has not preserved these claims through the case narrowing process. Apple would thus
 3 frustrate the purposes behind the Court’s case narrowing order: “to streamline the issues raised in
 4 this action significantly” and to limit the issues to “what the jury can handle.” (Dkt. 394; Fazio
 5 Decl. Ex. 2 at 48:23-25.) Using its inherent authority, this Court should enforce Apple’s
 6 compliance with its case narrowing order by striking Apple’s contentions that it practices Claim
 7 11 of the ’414 Patent, Claim 27 of the ’172 Patent, and Claim 34 of the ’959 Patent, and by
 8 striking all portions of its expert reports that rely on those contentions.
 9                                             CONCLUSION
10          For the foregoing reasons, this Court should issue an order striking Apple’s contentions
11 that it practices Claim 34 of the ’959 Patent, Claim 27 of the ’172 Patent, and Claim 11 of the ’414
12 Patent, and striking all portions of Apple’s expert reports that rely on those contentions.
13
14 DATED: October 10, 2013                     QUINN EMANUEL URQUHART &
                                               SULLIVAN, LLP
15
16
                                                  By /s/ Victoria F. Maroulis
17                                                  Charles K. Verhoeven
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18                                                  Victoria F. Maroulis
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20
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21                                                   SAMSUNG ELECTRONICS AMERICA, INC.,
                                                     and SAMSUNG TELECOMMUNICATIONS
22                                                   AMERICA, LLC
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 1                           ATTESTATION OF E-FILED SIGNATURE
 2         I, Matthew Warren, am the ECF user whose ID and password are being used to file
 3 Samsung’s Notice of Motion and Motion to Enforce Apple’s Compliance With The Court’s Order
 4 Regarding Case Narrowing. In compliance with General Order 45.X.B, I hereby attest that
 5 Victoria F. Maroulis has concurred in this filing.
 6
 7 Dated: October 10, 2013                          /s/ Matthew Warren
                                                    Matthew Warren
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